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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

In re : €hapter 11
ONCO INVESTMENT COMPANY, Jointly Administered
a Delaware corporation, et al., :

Case No. 04-10558 (JER)
Debtors.

FINAL ORDER (1) AUTHORIZING DEBTORS TO
(4) OBTAIN POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105,

361, 362, 363, 364(c)(1), 364(c)(2), 364(¢(3) AND 364(d}(1); AND (B) UTILIZE
CASH COLLATERAL PURSUANT TO 11 U.S.C. §8 105, 361, 362 AND 363; AND
(1) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED LENDERS
PURSUANT TO 11 U.S.C. §§ 105, 361, 362 AND 363

Cglebay Norton Company (“OQglebay”), and its affiliated debiors and debiors in
possession (collectively, the “Debtors”), having moved on February 23, 2004 (the “Motion”) for
an order authorizmg them to incur post-petition secured indebtedness, to grant security interests
and superprionty claims pursuant to sections 105(a), 361, 362, 363 and 364{c} and fd} of the
Bankruptcy Code {the “Code"} and Rules 2002, 4001 and 9014 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), and having sought the following relief.

ta} the Court's authorization, pursuant to sections 103(a), 361, 363 and 364(c) and {cd}
of the Code and Bankruptey Rules 2002, 4001] and 9014, for Oglebay, as Borrower (the
“Borrower™), and cach of the other Debtors as Guarantors for ihe Borrower, to obiain from Silver
Point Finance, LLC {by itself or, together with one or more of it affiliates “Silver Point”), as
collateral and syndication agent, and General Electnic Capital Corporation, as administrative
agent (“GECC,” and together with Silver Point, each an “Agent” and, collectively, the “Agents”}
acting for themselves, as lenders, and as Agents lor other lenders that may from time to time
become lenders (Silver Point and GECC im their capacities as lenders, together with such other

lenders and the Agents, collectively, the “D1P Lenders’), cash advances, and other cxtcnsions of
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credit, on a revolving credit basis, in an aggregate principal amount of up to $70,000,000,
ineluding a sublimit of $20,000,000 far leiters of credil (the loans and letters of credit under such
facilities, the “DIP Loans”}, pursuant to a Financmg Agreement substantially in the form
annexed hereto as Exhibit “A” (as amended, modified or supplemented from time to time, the
“DIP Loan Agreement™},' by and among the Debtors, the DIP Lenders and the Agents, to fund
ongoing working capital and general corporate needs of the Debtors during their chapter 1} cases
(the “Chapter 11 Cases”) to pay the fees, costs, expenses, and disbursements of professionals
retained by the Debtors or the official committee of unsecured creditors appointed in the Chapter
11 Cases pursuant to section 1102 of the Code (the “Commitige”), to pay the costs and expenses
of members of the Committce as approved by the Court, to make adequate protection payments
to the Existing Lenders, to pay other bankrupicy related charges all as allowed by the Court,
including UST/Clerk Fees (defined herein), and to pay any fees, deposits and cxpenses
(including, without limitation, reasonable attormeys' fees and expenses) owed to the DIP Lenders
ar the Agents, or otherwise required, under the DIP Loan Agreement and the other agreements,
instruments and other documents executed in connection therewith (collectively, with the DIP
Loan Agrcement, the “DIF Loan Documents”);
(b) the Court’s ordering, pursuant to sections 564(c)(1}, (2), (3) and 364(d) of the
Code, that the Obligations of the Debtors under the DIP Loan Agrecment and the other DiP Loan
Documents (collectively, the “DIP Obligations”) are:
i. oranied superprionty administrative claim status, having priority over any and all
administrative expenses of the kinds specified in or arising or ordered under
sections 105{a), 326, 328, 330, 331, 503(b), $06(c}, 507, 546(c), 726 and 1114 of

the Code, subject only, during the occurrence and continuance of an Event of
Default or 1 default hereunder, to the payment of Priority Professional Expenses

 

Unless otherwise defined herein, capicalized terms shall have che meanings as defined in the DIP Loan Agreement,

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(as defined in ihe DIP Loan Agrcement) up to the Carve-Out Amount (defined
below} and UST/Clerk Fees (defined below},

secured under section 364{c)(2) by a first priority, perfected licen on and security
interest in all pre-petition and post-petition property of the Debtors, of whalever
kind or nature, whether existmg on the Petition Date er thercafter acquired, that,
on or as of the Petition Date, is not subject to valid, perfecied and non-avoidable
Liens, including, without limitation, by way of general description only, all
property of the “estate” (within the meaning of the Code}, and all accounts,
inventory, goods, contract rights, instruments, documents, chaltel paper, general
intangibles, payment intangibles, letters of credit, letter-of-eredit rights,
supporting obligations, machinery and cquipment, real property, Vessels and
other marine assets, fixtures, leases, all of the Capilal Stock (whether such stock is
voting or non-voting stock} in any of its Subsidiaries, money, investment
property, deposil accounls, all commercial tort claims and all causes of action
arising under the Code or otherwise (excluding all Avoidance Actions and the
proceeds thereof), and all cash and non-cash proceeds, rents, products and profits
of any of the foregoing (collectively, the “Unencumbered Collateral”), pari passu,
* with the Senior Cash Management Lien (as defined below) and subject only to
(a) any Permitted Prionty Liens, (b) during the occurrence and continuance of an
Event of Default or a defauit hereunder, the payment of Priority Professional
Expenses up to the Carve-Out Amount, and (c) the UST/Clerk Fees;

secured, under 364(d)(1) of the Cede, by a first priority, perfected priming lien on
and security interest in any properly of the Debtors that, on or as of the Petition
Date, was, or thereafter became, subject to any valid, perfccted and non-avoidable
liens and secunty interesis {ihe “Existing Liens’) of: (a) the Existing Lenders and
Existing Agents (as defmed as Prepetition Secured Bank Lenders in the Motion
and collectively referred to herein as, the “Existing Lenders”), as set forth in the
Existing Cred Agreement, Existing Loan Agrecment, or any document execuled
in commection therewith (collectively, ihe “Existing Loan Documents’); and/or (b)
the holders (the “2008 Note Holders”) of those certain 18% Senior Secured Notes
of Ogicbay, duc October 25, 2008 in the aggregate original principal amount of
$75 million (collectively with any notes issued as paid-in-kimd interest, the “2008
Notes”), issucd under that certain Senior Secured Note Purchase Agreement dated
as of October 25, 2002 (as amended, the “2008 Note Indeniure”), as set forth in
the 2008 Note Indenture or any other document executed m connection therewith
(collectively with the 2008 Indenture, the “2008 Indenture Documents”) (all such
collateral shall be collectively referred to as, the “Pre-Petition Collateral”), pari
passu with the Senior Cash Management Lien and subject only to: (w} any
Permitted Priority Liens, (x) during the occurrence and contmuance of an Event
of Default or a default hereunder, the payment of Priority Professional Expenses
up te the Carve-Out Amount, and (y) UST/Clerk Fees;

 

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For the avoidance of doubt, the term "pari pas" as used herein, shall mean oaly that any allocation to be
made ta a creditor subject te a par?! pass lien shall be made in an amount equal te the ammount of the debt
of such ereditor divided by the total debt to all creditors having the samme priority.

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iv. secured under section 364fe}(3) of the Code by a perfected junior lien on and
security interest in all pre-petition and post-petition property of the Debtors (but
exchiding the property described in clauses (ii) or (iil) as to which the liens and
security interests in favor of the DIP Lenders and the Agents will be as described
in such clauses), whether now existing or hereafter acquired, that is subject to
valid, perfected and non-avoidable Liens in existence immediately prior to the
Filmg Date or to valid and non-avoidable Liens in exisience immediately prior to
the Filing Date that are perfected subsequent te the Filing Date as permitted by
Section 546(6) af the Code (collectively, the “Jumior Collateral’? and, together
with the Unencumbered Collateral and the PreFetition Collateral, the
“Collateral”), pari passe with the Senior Cash Management Lien and subject only
to (a) any Permitted Priority Liens, (b) during the occurrence and continuance of
an Event of Default or a default hereunder, the payment of Priority Professional
Expenses up to the Carve-Out Amount, and (c) UST/Clerk Fees;

ic} the Court’s grant, as adequate protection againsi the dimimution in the value or
amount of the Pre-Petition Collateral caused by the granting of the senior security imtcrcata
described in subparagraph (bi) above, and ihe use of the Existing Lenders’ and 2008
Noteholders’ cash collateral (the “Cash Collateral}, (A) to the Existing Lenders, (1) a
superpriority administrative expense claim under section S507(b} of the Code; (11) replacement
liens, part pass with the Junior Cash Management Lien, m the Collateral (including any Cash
Collateral), which liens and elaims shall be subject and subordinate in all respects to the
superpriority administrative expense claim, security interests and liens granted to the DIP
Lenders and ihe Agents under the DIP Loan Documents and this Final Order; and (iii) cash
interest, letter of credit fee and professional fee payments; and (B) to the 2008 Note Holders, (i)
a superpriority administrative expense claim under section 507(b) of the Code, (1i) replacement
liens m the Collateral (including any Cash Collateral}; which claims and liens shall be subject
and subordinate in all respects to the superpricrity administrative cxpense claims and
replacement liens granied to the Existing Lenders hereunder, the Junior Cash Management Licn
aud the superpriority administrative expense claim, security interests and liens granted to the DIP

Lenders and the Agents under the DIP Loan Documents and this Final Order, and (iii} payment

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of reasonable post-petition attomeys’ fees and costs of the Ad Hoc Committee of Senior Secured
Noteholders (defined below);

(d)} = the Court’s entry of a Final Order (tis “Final Order’) approving on a final basis
the post-petition financing pursuant to the DIP Loan Documents and suthonzing the Debtors to
oblain, on a final basis, DTP Loans thercunder in the amount of $70 million;

(e) an interim hearing (the “Interim Hearing’) having been held before this Court on
February 24, 2004, pursuant to Bankruptcy Rule 4001(c}(2), to consider entry of an Interim
Order and an Tntentm Order having been entered on February 25, 2004; anid

if the Court's finding, pursuant to Bankruptcy Rule 4001(c)(1), that notice of the
hearing on this Final Order has been given to (i) the United States Trustee; (ii) the Debtors’
largest unsecured creditors on a consolidated basis, as identified in their chapter 11 petitions; (111)
counsel to the administrative agent for the Debtors’ prepetition secured bank group; (i¥) counscl
lo the unofficial committee of halders of Oglcbay’s scnior sccured notes, (¥} counsel lo the
unofficial conmnttee of holders of Oglebay’s senior subordinated notes; and {vi} counsel to the
administrative agent for the DIP Lenders (colleciively, the “Notice Parties}; and based upon all
of the pleadings filed with ihe Court, the evidence presented at the Hearing, the representations
of counsel made at the hearing on the Motion and the entire record herein; and the Court having
noted the appearances of all parties in interest; and it appearing that the relief requested in the
Motion is in the best interests of the Debtors, them estates and creditors, and that such relief is
essenuial for the contmued operations of the Debtors’ busimesses; and it further appearing that the
Debtors are unable to obtain unsecured credit for money borrowed allowable as an

administrative expense under section 503{b)(1) of the Code or other secured financing on equal

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or more favorable terms than these set forth in the DIP Loan Documents; and after due
dehberalion and consideration, and sufficient cause appearing therefor:

IT IS HEREBY ORDERED: *

l. Dispesition. The Motion ts granted as set forth herem. Any objections to the
Motion that have not previously been withdrawn or resolved are hereby overruled on their
menits.

Z. Jurisdiction; Venue. The Court has jurisdiction over these cases, the parties and

 

the Debtors’ property pursuant to 28 U.S.C. $1334. This is a core proceeding pursuant to
28 U.S.C. §157(b)(2})(D). Venue of the Chapter 11 Cases and the Motion is proper under 28

U.S.C. §§ 1408 and 1409.

 

3. Purpose and Necessity of Financing. The Debtors require the financing described
in the Moiion to fund, among oiher ihigs, ihe Debtors’ cash requirements for working capital
and general corporate needs, for adequate protection payments to the Existing Lenders and
Existing Agents, and for cther purposes permitted by the DIP Loan Documents. If the Debtars
do not obtain authorization te borrow under the DIP Loan Agreement and the DIP Loans are not
approved, the Debtors will suffer immediate and irreparable harm. The Debtors are unable to
obtain adequate unsecured credit allowable as an administrative expense under section 503 of the
Code, or other financing under sections 364(¢} or (d) of the Cede, on terms that, taken as a
whole, are as favorable as those set forth in the DIP Loan Agreement and the other DIP Loan
Documents. A loan facility in the amount provided by the DIP Loan Agreement and the other
DIP Lean Documents is not available to the Debtors without granting the DIP Lenders

superpriority claims, liens and security interests, pursuant to sections 364(c){1), (2), (3} and

 

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Findings of fact shall be construed as comelusigns of law, and conclusions of law shall be construed as findings
of fact, pursuant to Bankruptcy Rule 757.

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364(d} of the Code, as provided in this Final Order and the DIP Loan Documents. After
considering all alternatives, the Deblors have concluded in the exercise of their prudent business
judgment that the loan facility provided under the DIP Loan Documents represents the best
wotking capital financing available to them at this lime.

4, Good Cause. The ability of the Debtors to obtain sufficient working capital and
liquidity under the DIP Loan Documents is vital to the Debtors’ estates and creditors. The
liquidity to be provided under the DIP Loan Documents and as a consequence of the use of Cash
Collateral will enable the Debtors to continue to operate their businesses in the ordimary course
and preserve the value of the Debtors’ businesses. Good cause has, therefore, been shown for the
relief sought in the Motion.

5. Good Faith. The DIP Loan Documents and this Final Order have been negotiated
in good faith and at arm's-length between the Debtors, the Existing Lenders, the 2008
Noteholders, and the DIP Lenders. Any DIP Loans and/or other financial accommodations made
io the Debtors by ihe DIP Lenders, the Existing Lenders and the 2008 Notehalders, pursuant to
this Final Order and the DIP Loan Agreement shall be deemed to have been extended by the DIP
Lenders, the Existing Lenders, and the 2008 Noteholders, in good faith, as thal term is used in
section 364(¢} of the Code, and the DIP Lenders, the Existing Lenders, and ihe 2008
Noteholders, shall be entitled to al] protections afforded thereunder, The terms of the loan
facility provided under the DIP Loan Documents are fair and reasonable, reflect the Debtors’
exercise of prudent business judgment consistent with their fiduciary duties and are supported by
reasonably equivalent value and fair consideration.

6. Borrowing. The Debtors are immediately authorized to obtain Loans, pursuant to

the terms of the DIP Loan Documents and this Final Order, in the principal amount of up to $70

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million (which includes a sublimil of $20 million for letters of credit). Available financing and
advances under the DIP Loan Agreement will be used only as provided under the DIP Loan
Agreement, and to fund other amounts required or allowed io be paid m accordance with this
Final Order, including, without limitation, for adequate protection payments to the Existing

Lenders and Existing Agents as authorized hereunder.

7. Use of Collateral. The Debtors arc hereby authorized to use the Pre-Petition
Collateral (including all Cash Collateral) only in accordance with terms of the DIP Loan
Documents and this Final Order. The Existing Lenders’ and the Existing Agents’ consent to the
use of the Cash Collateral is based upon the budget and forecast entered into evidence at the
hearing on this Final Order and annexed as Exhibit A hereto (ihe “Budget™) and the Debtors’
representations to the Existing Lenders and the Existing Agents that such Budget was prepared in
good faith and is achievable based on good faith assumptions made at the time of its preparation.
Any variance, lermimation or expiration of the Budget shall not be construed as a Cash Collateral
Termination Event (as defined herein). Nothing in this Final Order shall be consirued as or
deemed ta constitute the consent of the DIP Lenders, Existing Lenders or 2008 Noteholders to
the usc, sale or lease of the Pre-Petition Collateral, including the Cash Collateral, on any terms
other than as expressly provided herein. Notwithstandmg any iermimation of the Debtors’
authority to use the Cash Collateral pursuant to the terms hereof, all liens, prionties, nghts and
remedies provided to the Existing Lenders, the Existing Agents, the 2008 Notcholders and the
collateral agent for the 2008 Notcholders (the "2008 Noteholder Agent") in this Final Order shall
survive such termination and remain in full force and effect with respect to any Existing

Indebtedness and any indebtedness arising under the 2008 Indenture Documents (the "Senior

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Note Indebtedness"), and claims and obligations arising under this Final Order, outstanding on
such termination date.”

8, Stipulations. In providing for post-petition financing under the DIP Loan
Agreement, the Debtors acknowledge, represent, stipulate and agree that:

{a} all of the Debtors have obtained ali authorizations, consents and approvals
necessary from, and have made all filings with and given all notices to, all federal, state and local
governmental agencies, authorities and instrumentalities required to be oblained, made or given
by the Debtors in connection with the exceution, delivery, performance, validily and
enforceability of the DIP Loan Documents to which any Debtor is a party;

(b} in entering into the BIP Loan Documents, and except as otherwise
provided herein, and as considcration therefor, the Debtors hereby agree that until such time as
all DIP Obligations are indefeasibly paid in full, in cash, and the Commitments are terminated in
accordance with the terms of the DIP Loan Agreement, the Debiors shall not in any way prime or
seck to prime (i¢., cause to be subordinated) the liens provided io the DIP Lenders and the
Agents under this Final Order by offering a subsequent lender or any party-in-interest a superior
or pari passu licn, interest or claim pursuant to section 364(d) of the Code or otherwise. Unless
and until the Existing Indebtedness (as defined below} is indefeasibly paid in full, the Debtors
shall not in any way prime or seek to prime the Replacement Liens or Existing Liens, except as
otherwise provided herein, without the consent of the Existing Lenders.

(c) the Debtors are indebted to the Existing Agenis and the Existing Lenders
for the obligations under the Existing Loan Documents, as of February 23, 2004, m the aggregate

principal amount of not less than $243,200,000 constituting loans and undrawni leliers of credit

 

Nothing in this Final Order shall he construcd as an admission by any party that the consent of the 2008
Notehelders or the 2008 Noteholder Agent is required for the Debtors’ use of Cash Collateral,

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under the Existing Loan Documents, together wilh interest and fees acerned and accruing thereon
in respeet of such loans, together with casts, expenses, fees (including atiorneys' lecs),
indemnities, remmbursement obligations and other charges now or hereafter owed by the Debtors
to the Existing Agents and the Existing Lenders (collectively, the “Existing Indebtedness”), all of
which are secured by the Existing Licns and are unconditionally owing by the Debtors without
avoidance, offset, defense, objection, action, subordination or counterclaim of any kind, nature
and description whatsoever;

(d) except as olherwise provided herein with respect to the Post-Petition
Laens, the Replacemeni Liens, and the Cash Management Liens (as defined herein) the Existing
Liens are legal, valid, enforceable and duly perfected first pnority and semior hens m all of the
Pre-Pctition Collateral, not subjcet to avoidance, defense, objection, action, counterclaim, seloiT
or subordination under the Code or applicable non-bankruptcy law, pursuant to the Existing Loan
Documents as in effect on the Filing Date;

(e) all of the Debtors will receive and have recetved reasonable consideration
in exchange for the making of ihe DIP Loans, the use of the Cash Collateral and the other
financial accommodations provided under the GIP Loan Documents and this Final Order;

(fh as of the date of this Final Order, there are no other liens on cr security
interests in the Collateral except for the Permitted Licns, the Senicr and Junior Cash
Management Liens (each as defined herein), and the Existing Liens;

{ig} all payments made by the Debtors to the Existing Lenders prior to the
Filing Date are legal, valid and non-avoidable;

{h} the Debtors do net possess, may not assert and have waived any claim,

objection, action, counterclaim, offset, right or defense of any kind or nature which could in any

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way affect (he validity, pnority, enlorceability and nonavoidability of the Existing Indebtedness
or the Existing Liens or which would reduce or affect the obligation of the Debtors to pay the
Existing Indebtedness;

i) subject to the provisions of paragraph 17 hercof, the Debtors hereby
release, discharge and acquit the Exisimg Lenders, ihe Existing Agents and the Intermediary
Bank and their respective agents, officers, directors, attorneys and employees, from all claims
and causes of action of every type arising out of the Existing Loan Documents or any other
relationship with the Debters prior to the entry of this Final Order.

9. Fees and Deposit. All fees paid and payable and costs and/or expenses reimbursed
or reimbursable under the DIP Loan Agreement, the oiher DIP Loan Documents and this Final
Order by the Debtors to the DIP Lenders, the Agents, the Existmg Lenders or the Existing
Agents, as disclosed to the Court at the hearing on February 24, 2004, are hereby approved. To
ihe exlent nol previously paid, ihe Debtors are hereby authorized and directed ta pay all such
fees, in accordance with the terms of the DIP Loan Documents and this Final Order, without the
necessity of the Debtors, the DIP Lenders, the Agents, the Existing Lenders or the Existing
Agenis filing any further application with the Court for approval ar payment of such fees or
expenses provided, however, that the Court requires all parties receiving reimbursement of
professional fces, costs and/or expenses in whole or in part with property or proceeds of property
of the eslale to file a fee application thal sets [orth such fees, costs and expenses. Upon payment
of such fees, such fees shal! be deemed fully earned and non-refundable, subject to the usual fee
application process required by this Court.

10, Authority to Pxeeute and Deliver Necessary Documents. Each of the Debtors 1s

 

auihonized and empowered to enier mio and deliver the DIP Loan Agreement and the other DLP

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Loan Documents in cach case including any amendments thereto, and including UCC financing
statements and mortgages or deeds of trust encumbering all of the Coilateral and securing all of
the Debtors’ obligations under the DIP Loan Agreement, including repayment of all DIP
Obligations. Each of the Debtors is hereby further authonzed and directed {a} io perform all of
their obligations under the DIP Loan Documents and such other agreements as may be required
by the DIP Loan Documents io give effect to the terms of the fmancing provided for in this Final
Order; (b) to perform all acts required under ihe DIP Loan Documents and this Final Order,
including, without limitation, the payment of fees and the reimbursement of present and future
reasonable costs and expenses (including without limitation, attorneys’ fees and legal expenses),
subject to the requirement that all professional fees and expenses require approval of the Court,
paid or incurred by the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents or the
ad hec committce of 2008 Notcholders (the “Ad Hoc Committee of Senior Secured
Noteholders") as and to the extent provided for in this Final Order, the DIP Loan Agreement and
the other DIP Loan Documents, all ef which unpaid fecs, commissions, costs and expenses paid
or incurred by the DIP Lenders or the Agents shall be included and constitute part of the
principal amount of the DIP Obligations, and be secured by a firsi priorily Hen on and security
interest in all of the Collateral, except to the extent otherwise provided for in this Final Order, the
DIP Loan Agreement and the other DIP Loan Documents; and {c} to do and perform all cther
acts, to make, execute and deliver all other instruments, agreements and documents, which may
be reasonably requested by the DIP Lenders, the Agents, the Existing Lenders or the Existing
Agents. The cbligations under the DIP Loan Documents and this Final Order shall constitute
valid and binding obligations of each of the Debtors enforceable against each of them, and cach

of their successors and assigns, in accordance with their tenns and the terms of this Fimal Order.

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11. Amendmenis. The Debters, with the express written consent of the Required
Lenders under the DIP Loan Agreement, may enter into any amendments or modifications to the
DIP Loan Agreement and the other DIP Lean Documents without the need of further notice and
hearing or order of this Court, provided that such modifications or amendmenis de not materially
adversely affect the rights of any other creditor, equity holder or party in mterest, and provided
furiher, that notice of any such amendment shall be filed with the Court and served upon counsel
io the Committee, the Office of the United States Trustee, counsel to the Existing Lenders,
counsel to the Ad Hoc Committee of Senior Secured Neteholders, and any affected creditor,
equity holder or party in interest.

12. Superpriority Claim and Lien Priority. To secure all of the DIP Obligations, the
DIP Lenders and the Agents are hereby granted:

(a) an allowed superpriority admimstrative expense claim (the “Superprienty
Claim”) pursuant te section 264(c)(1) of the Code for all of the DIP Cbligations, haymg prionty
over any and all administrative expenses of the kinds specified in or arising or ordered under
seclions 105(a}, 326, 328, 330, 331, 503(b), 506(c), 307, 546(c), 726 and 1114 of the Code,
whether or not such expenses or claims may become secured by a judgment lien or other non-
consensual lien, levy or attachment, subjcet and subordinate in priority of payment only to the
Priority Professional Expenses (up ta the Carve-Out Amount after an Event of Default or a
default hereunder) and the UST/Clerk Fees; and

(ob) part passa with the Senior Cash Management Lien and subject only to
Permitted Priority Licns and, during the occurrence and continuance of an Event of Default or a
default hereunder, to the payment of Prionty Professional Expenses up to the Carve-Oul Amount

and UST!Clerk Fees, as provided in this Final Order, the DIP Lenders and the Agents are hereby

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sranted, effective immediately: (7) a first prionty, perfected security intercst in, and lien, under
section 364(c\(2) of the Code, upon all of the Unencumbered Collateral: (11) a first priority,
perfected priming securily interest m and lien, under section 364(d){1) of the Code, upon all Pre-
Peiition Collateral, in all cases, senior to any and all present and future liens, claims or
encumbrances against the Pre-Petition Collateral, meluding, withoui limitation, any and all
Existing Liens, and Replacement Liens; and (ili} a junior, perfected security interest in and lien,
under section 364(c)(3) of the Code, upon all Junior Collateral (collectively, the “Post-Petition
Liens’);

{ce} no licn or sceurity interest granted te the DIP Lenders or the Agents under
this Final Order, including the Post-Petition Liens shall (a) be subject to any lien or sccurity
interest that is avoided and preserved for the benefit of the Debtors' estates under section 551 of
the Code, or (b) hereafter be subordinated to or, except as otherwise provided in this Final Order,
made pari passy with any other lien or sccurity intcrest under section 364(d) of the Code or
otherwise;

(d) the liens and security interests ansing hereunder shall be and hereby arc
fully perfected liens and security interests, such that no additional steps need be laken by ihe DIP
Lenders or the Agents to perfect such interests. Any provision of any lease, loan document,
eascment, usc agreement, proffer, covenant, license, contract or other instrament er agreement
ihal requires ihe consent or approval of one or more landlords, licensors or other parties, or
Tequires the payment of any fees or obligations to any governmental entily, non-governmental
entily, or any other person, in order for any of the Debtors to pledge, grant, morigage, scll, assign
or otherwise transfer any fee or leasehold interest, the proceeds thereof or other Collateral shall

have no force or effect with respect to the transactions pranting the DIP Lenders, the Agents, the

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Existing Lenders, ihe Existing Agents, the Inlermediary Bank, ihe 2008 Noteholders or the 2008
Noteholder Agent a priority security interest in such fee, leasehold or other interes! or other
Callaieral or the proceeds of any assignment, sale or other iransfer thereof by any of the Debtors
in favor of the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents, the
Intermediary Bank, the 2008 Noteholders or the 2008 Noteholder Agent in accordance with the
terms of the DIP Loan Agreement or this Final Order;

(e) the Post-Petition Liens, Superprionty Claim and other righis and remedies
granted to the DIP Lenders and the Agents under this Final Order shall continue in this and in
any superseding case or cases under the Code, and such liens and security interests shall maintain
iheir first prionty as provided in this Final Order unti) all the DIP Gbligations have becn
indefeasibly satisfied in full in cash and the Commitment is terminated; and

(f) nothing contained herein shall be construed to grant a priming lien on the
pre-petition collateral presently subject to the First Preferred Fleet Mortgage between the
Debtors and National City Bank, dated as of July 14, 1997.

13. Adequate Protection For Existmg Lenders. Without restricting ihe nights of the
Existing Agenis or the Existing Lenders to argue that they are not adequately protected after the
date of the cntry of this Fina] Order or to seek further adequate protection, and subject to all
parties’ nights to reallocate any of the payments below under Code section 506(b),

(a) as adequate protection against the diminution in the valuc or amount of the
Pre-Petition Collateral and for use of ihe Pre-Petilion Collateral (imeluding Cash Collateral) by
the Debtors and in accordance with sections 361, 363(e}, and 364(d) of the Bankruptcy Code, the
Existing Lenders are hereby granted valid, perfected, second priority pest-petition secunty

interests in and licns (such liens, the “Existing Lender Replacement Liens”) on ali Collateral, and

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all cash and non-cash proceeds, renis, products and profits of any Collateral, which liens and
security interests shall be and hereby are fully perfected liens and security interests without the
need for any additional steps to be taken by the Existing Lenders or the Existing Agents to
perfect such interests, lo secure an amount equal to the ageregatc reduction in the value or
amount of the Collateral, whether by depreciaiion, use, sale, loss, decline in market price or
otherwise (any such diminution in value, the “Existing Lender Adequate Protection
Obligations”), provided, however, that, netwilhstanding anything to the contrary, the Existing
Lender Replacement Liens shall be pari passu with the Junior Cash Management Lien (as
defined below) and remain subject to (i) the Post-Pctition Liens and/or payment of any DIP
Obligations on account thereof; (1) the Permitled Poorly Liens; (ii) during the occurrence and
continuance of an Event of Default or a default hereunder, the payment of Pricrity Professional
Expenses up to the Carvc-Out Amount; (iv) the Senior Cash Management Liens; and (¥) the
LUST /Clerk Fees:

th) except for (i} the Post-Petition Liens; (i1) (he Permitted Priority Liens; {111}
during the oreurrence and coniinuance of an Event of Delault or a default hereunder, the
payment of Prioriiy Professional Expenses up to the Carve-Out Amount; {iv} the Cash
Management Liens (as defined below}; and (v} the UST/Clerk Fees, no lien or securily interest in
any property of the Debtors granted or arising on or after the Petition Date (including, without
hmitavion, liens and security interests, if any, granted im favor of any federal, state, municipal or
other governmental unit, commission, or board for any habiltiy of the Debtors) shall be created
or permitted to be pari passu with, or senior to, the Existing Lender Replacement Liens;

(c) to the extent that the Existing Lender Replacement Liens prove

insufficient to provide the Existing Lenders with adequate protection, the Existing Lenders shall

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be granted a junior superpriority administrative claim {the “Existing Lender Adequate Protection
Claim”) under section $07(b5) of the Code, in an amount equal to the Existing Lender Adequate
Protection Obligations, having priorily over any other claims including claims made pursuant to
section 507(b) of the Bankruptcy Code, and junior m pnority only to the Superpnonty Clam
held by the DIP Lenders and subject only to payment cf DIP Obligations, the UST/Clerk Fees,
and during the occurrence and continuance of an Event of Default, the payment of Priority
Professional Expenses up to the Carve-Out Amount; and

(d) provided that no Event of Default or default hereunder has occurred and is
continuing, as further adequate protection for use of the Pre Petition Collateral (meluding Cash
Collateral) by the Debtors, and in accordance with sections 361, 363(e}, and 364(d) of the
Bankruptcy Code, the Existing Agents and the Existing Lenders shali be paid (i) all interest
(calculated at the contract non-default rate provided under the Existing Loan Documents and
including any interest payable under or in connection with (A) that certain ISDA Master
Agreement, dated as of June 30, 2000, between The Chasc Manhattan Bank {(n/k/a JPMorgan
Chase Bank) and Oglebay Norton Company and (B} that certam ISDA Master Agreement, dated
January 14, 2002, between National City Bank and ON Marine Services Company and Ovlebay
Narton Marine Services Company, L.L.C.) and Letter of Credit Fees (as described in the Existing
Loan Documents), including any such mterest and [ees that are accrued and unpaid as of the
Petition Date, as and when payable under the Existing Loan Documents and (ii) subject to the
requirements of the usual fee application process for all professional fees and expenses thal are
lo be paid by or out of the assets of the estate and otherwise upon receipt by the Debtors, counsel
te the Debtors, counsel to the Committee, counsel ta the Ad Hoc Committee of Senior Secured

Notcholdcrs, counsel to the Agents and the Office of the Lmted Siales Trustee of invoices

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relating thereto, all reasonable costs and expenses incurred both before and after the Filing Date
in connection wiih (he Existing Indebtedness or arising under or in connection with the Existing
Loan Documents, including reasonable counsel fees and disbursements, filing fees, agency fees
to which the Debiors have agreed and reasonable fees and disbursements of financial advisers in
all cases, only in amounts in excess of any retainer or pre-paid fees held by such counsel or
financial advisors; provided, however, that the Court may require all parties recelying
reimbursement of professional fees, costs and/or expenses in whole er in part with property or
proceeds of properly of (he esiale io file a fee application that sets forth such fees, costs and
expenses. To the extent any amounts arising under clauses {1) and (ii) above are outstanding as
ol the Filing Date, subject to the requirements of the usual fee application process for all
professional fees and expenses thal are lo be paid by or out of the assets of the estate, the Debtors
shall pay such amounts to the Existing Agents or the Existing Lenders, as applicable, within
three (3) business days after entry of this Final Order.

(e) the Existing Lenders hereby acknowledge, agree, and stipulate that, as of
the date of the entry of this Final Order, they are adequately protected.

l4. Adequate Protection for 2008 Note Holders. As adequate protection against the

 

diminution in the value or amount of the Pre-Petition Collateral and for use of the Pre-Petition
Collateral (including Cash Collateral} by the Debtors and in accordance with sections 361,
363(e}, and 364(d) of the Bankruptcy Code, the 2008 Note Holders are hereby granted:

(a) —- valid, perfected, third pnoniy post-petuion security interests in and licns
(such hens, ihe “2008 Note Holder Replacement Liens” and, together with the Existmg Lender
Replacement Liens, the “Replacement Liens’) on all Collateral, and all cash and non-cash

proceeds, rents, products and profits of any Collateral, which licns and security interests shall be

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and hereby are fully perfected liens and security interests without the need for any additional
steps to be taken by the 2008 Note Holders or the 2008 Note Holder Agent to perfect such
interests, te secure an amount equal to the aggregate reduction in the value cr amount of the
Collaieral, whether by depreciation, use, sale, loss, decline in market price or otherwise (any
such dimimution in value, the “2008 Note Holder Adequate Protection Obligations” and, togeiher
with the Existing Lender Adequate Protection Obligations, the “Adcquate Protection
Obligations”}, provided, however, that notwithstanding anything to the contrary, the 2008 Note
Holder Replacement Liens shall be junior to the Existmg Lender Replacement Liens and the
Junior Cash Management Lien and remain junior and subject to (i) the Post-Pctition Liens and/or
payment of any DIP Obligations on account thereof; {11} the Permitted Priority Liens; (11) during
the occurrence and continuation of an Event of Default or a default hereunder, the payment of
Pnority Professional Expenses up to the Carve-Out Amount; (iv} the Senior Cash Management
Liens; and (v) the UST/Clerk Fees;

(b) except for (i) the Existing Lender Replacement Liens; (11) the Post-Petition
Liens; (iii) the Permitted Prionty Liens; (iv) during the oceurrence and continuance of an Event
of Default of a default hereunder, the payment of Priority Professional Expenses up to the Carve-
Gut Amount; (v) the Cash Management Liens; and (vi) the UST/Clerk Fees, no lien or security
interest in any property of the Debtors granted or arising on or after the Petition Date (including,
without Limitation, licns and security interests, if any granted in favor of any federal, state,
municipal or other governmental unit, commission, or board for any liability of the Debtors)
shall be created or permitted to be pari passw with, or senior to the 2008 Note Holder

Replacement Liens;

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(c) to the extent that the 2008 Note Holder Replacement Liens prove
insufficient ta provide the 2008 Noie Holders with adequate protection, the 2008 Note Holders
shall be granied a jumor superpnonty adrmmstrative claim (the “2008 Note Holder Adequate
Protection Claim” and, together with the Existing Lender Adequate Protection Claim, the
“Adequate Protection Claims”) under section 307(b) af the Code, in an amount equal to the 2008
Note Holder Adequate Protection Obligations, having priority over any other claims including
claims made pursuant to section 507(b) of the Bankniptey Code, and junicr in prienity only to 0)
the Existing Lender Adequate Protection Claim, and (ii) the Superpriority Claim held by the DIP
Lenders and subject only to payment of PIP Chligations, the UST/Clerk Fees, and during the
occurrence and continuance of an Event of Default, the payment of Priority Professional
Expenses up to the Carve-Out Amount, and

(d) provided that no Event of Default or default hereunder has occurred and is
continuing, as further protection for use of the Pre-Petition Collateral (including Cash Collateral}
by the Debtors, and in accordance with sections 361, 363(¢}, and 364(d) of the Bankrupicy Code,
the Debtors shall pay all reasonable attorneys’ fecs and costs incurred by the Ad Llac Committee
of Senior Secured Noteholders from and after the commencement of these chapter 11 cases,
subject to the requirements of the usual fee application process for all professional fees and
expenses that are to be paid by or cut af the assets of the estate and otherwise upon receipt by ihe
Debtors, counsel to the Debtors, counsel to the Committee, counsel to the Agents, counsel to ihe
Existing Avents, and the Office of the United States Trustee of invoices relating there(o.

15. Section 532 Rights. Fer the sake of clarity and specificity, nothing contained im
this Final Order or the DIP Loan Documents shall in any way be construed as an order limiting

or otherwise impairing the rights of the DIP Lenders, the Agents, the Existing Lenders, the

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Existing Agents, the 2008 Notcholders or the 2008 Notehalder Agent as provided in Section 552
of the Code;

16. Priority Professional Expenses & UST/Clerk Fees Carve-Out. The payment of
any atnounts on account of the liens and security interests and the Superprionty Claim granted
herein to the DIP Lenders and the Agents shail bc subject and subordinate only to:

{a} amounts payable pursuant to 28 U7.8.C. § 1930(a}(6) and any fees payable
to the Clerk of the Court (collectively, the “UST/Clerk Fees’; and

(b)} allowed fecs and cxpenses of attomeys, accountants, and other
professionals retained in (hese Chapier 11 cases pursuant to sections 327, 328, 330, 331 and 1103
of the Code by the Debtors and the Committee to the extent that such amounts do not exceed in
the aggregate $5 million (melusive of any holdbacks required by the Court) (the “Carve-Out
Amount”), So long as no Event of Default or delault by any of the Dcbtors in the performance
or observance of any of their obligations under this Final Order has occurred and is continumeg,
the Debtors shail be permitted to pay UST/Clerks Fees and Priority Professional Expenses
allowed and payable under sections 327, 328, 330 and 331 of the Code, as the same may be duc
and payable in accordance with any applicable order of the Court, and such payments shall not
be applied against the Carve-Out Amount. After the occurrence and during the contmuation of
an Event of Default or a default by any of the Debtors in the performance or observance of any
of their obligations under itus Final Order, any payments actually made of fees and expenses to
such professionals (including payments made out of pre-Petition Date relaimers) pursuant to
sections 327, 328, 330, 331 and 1103 of the Code or otherwise, shall reduce the Carve-Gut

Amount on a dollar-for-dollar basis; and

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ic) Priority Professional Expenses shall alse include any payments which are
authorized to be made pursuant to any Court-approved procedure for monthly or other payment
of administratrve expenses; provided, that nothing contained herein shall (i) be construed to
exempt those persons hereafter receiving inlerim compensalion payments or rcimbursement of
expenses pursuant to any such Court-approved procedure for interim payments of administrative
expenses from the applicable provisions of bankruptcy law, including the requirements thal such
compensation or reimbursement be allowed on a final basis after the filing of appropriate fee
applications and (ii) be construed as consent to the allowance of any fees and expenses referred
to above and shall not affect any nghi of the DIP Lenders, the Agents, the Existing Lenders, the
Existing Agents, the 2008 Noteholders or the 2008 Noteholder Agent to object to the
reasonableness of such amounts; provided, further, that Priority Professional Expenses shall not
include, and proceeds of the DIP Loans (as to the DLP Lenders) and the Cash Collateral (as lo the
Existing Lenders and the DIP Lenders} shall not be used for the payment or reimbursement of, any
foes or disburscments of the Debtors, the Committee or any trustee appointed in these Chapler 11]
Cases incurred in connection with the assertion and prosccution of, or joinder in, any claim,
counterclaim, action, proceeding, application, motion, objection, defense or other contested matter,
the purpose of which is to scck any order, judgment, determination or similar relief (A)
commencing of prosecuting any action asserting claims pursuant to sections 542, 544, 545, 547,
548, 349, 550, 551, 5530h) or 724{a} of the Code or other cause of action (whether arising under
state law, the Code or other federal law) agamsl the DIP Lenders, the Agents, the Existing Lenders,
the Existing Agents or the Intermediary Bank with respect to the validity and extent of ihe DIP
Obligations, the Existing Indebtedness or the validity, extent and priority of liens and security

interests securing the DIP Obligations and the Existing Indebtedness of the Debtors; (B)

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mvalidating, setting aside, aveiding or subordinating, in whele or in part, the DIP Lenders’, the
Agents’, the Existing Lenders’, the Existing Agents’ or the Intermediary Bank's liens or security
interests in the Collateral; (C} preventing, hindering or delaying (whether, directly or indirectly) the
DIP Lenders, the Agents, the Existing Lenders or the Existing Agents in respect of their liens ane
sccurity interests in the Collateral or (D) authorizing the use of the Cush Collateral on terms other
than those set forth in this Final Order without the consent of the Existing Lenders and the Existing
Agents. No liens, claims, interests or priority status other than Permitted Prority Liens, Priority
Professional Expenses (up to the Carve-Oul Amouni afler an Event of Default or a default
hercunder), the Scnior Cash Management Liens and UST/Clerk Fees, having a lien or
admuntstralive priority superior to or pari passu, with those granted by this Final Order to the
DIP Lenders, the Agents, the Existing Lenders, the Existing Agents (other than the Junior Cash
Management Liens), the 2008 Noteholders or the 2008 Notehoider Agent shall be granted while
any portion of the DIP Obligations or the Existing Indebtedness remains outstanding or any
Commitment under the DIP Loan Agreement remains im effect withoul the writlen consent of
the Required Lenders under the DIP Loan Agreement or the Existing Loan Documents, as
applicable. Effective upon cntry of this Final Order, in exchange for priority payment of ihe
Pnorily Professional Expenses, the parties entitled to be paid therefrom shall not be entitled,
directly or indirectly, to charge the Collateral whether by operation of Sections 195, 506(c) or
§52(b) or otherwise. The waiver set forth in the immediaiely preceding sentence is for the sole
benefit of the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents, the
Intermediary Bank, the 2008 Noteholders and the 2008 Noteholder Accent and no other party

shall be entitled to assert any claim or defense on account of such waiver.

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17. Committee Investigation Period. Notwithstanding anything in this Final Order or
in the DIP Lean Agreement to the contrary, any party in interest {other than the Debtors, the
2008 Noteholders and 2008 Noteholder Agent who have expressly waived their rights to do so
upon entry of this Final Order as provided herem), meluding the Committee, may commence any
adversary proceeding or contested matter challenging the validity, enforceabiltly or priority of
ihe obligations owed to the Existing Lenders or the Existing Indebtedness or, to the extent they
secure the obligations owed to the Existing Lenders or the Existing Indebtedness, the Existing
Licns, or otherwise assert on behalf of the Debtors, their estates and their creditors any claim or
cause of action against the Existing Lenders, no later than the date that is sixty (60) days after the
filing of an application for entry of an order authorizing the retention of counsel for the
Committee (the “Investigation Termination Date”), If no such adversary proceeding or contested
mattcr is properly commenced as of such date (or such later date as extended only by written
consent of the Existing Lenders or further order of this Court, upon cause shawn), the obligations
owed to the Existing Lenders shall constitute allowed claims, not subject to avoidance or
subordination, for all purposes in the Chapter 11 Case, and the Existing Liens shall be deemed
legal, valid, binding, perfected, eniorceable and othcnwvise unavoidable, and the obligations owed
to the Existing Lenders and the Existing Liens shall not be subject te any other or further
challenge by any party in interesi, and the stipulations im paragraphs 8(c) and &(d) and &{g)
through &(7} (in each case, inclusive) shall be deemed binding on all parties.

18. Limitation On Additional Surcharges. Neither the Collateral nor the DIP Lenders,

 

Agents, Existing Lenders, Existing Agents, the Intermediary Bank, the 2008 Noteholders or 2008
Noteholder Agent shall be subject to surcharge, pursuant te sections 506{(c), 552(b) or 105(a) of

the Code, or othervise, by any of the Debtors or any oiher party im mterest. No action, inaction,

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or aequicscenec by the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents, the
Intermediary Bank, the 2008 Noteholders or 2008 Noteholder Agent including funding the
Debtors’ ongoing operations under this Final Order, shal] be deemed 1o be er shall be considered
as evidence of any alleged consent by the DIP Lenders, the Agents, the Existing Lenders, the
Existing Agents, the Intermediary Bank, the 2008 Notehalders and 2008 Notcholder Agent to a
charge against the Collateral pursuant to sections 506(c) or 105(a) of the Code. The DIP
Lenders, the Agents, the Existing Lenders, the Existing Agents, the Intermediary Bank, the 2008
Noteholders and the 2008 Noteholdcr Agent shall not be subject in any way whatsoever to the
equitable doctrine of “marshaling” or any similar doctrime with respect to the Collateral.

19. Additional Perfection Mcasures.

 

(a) The liens, seeurity interests and priority granted to the DIP Lenders, the
Avents, the Intermediary Bank (as defined below), the Existimg Lenders, the Existing Agents, the
2008 Noteholders and 2008 Noteholder Agent pursuant to this Final Order with respect to
property of the Debtors’ estates shall be perfected by operation of law upon entry of this Final
Order by the Court. Neither the Debtors nor the DIP Lenders, the Agents, the Existing Lenders,
the Existing Agents, the 2008 Noteholders and 2008 Notcholder Agent shall be required to enter
into or to obtain landlord waivers, mortgagee waivers, bailec waivers, warehouseman waivers or
other waiver or consent, or to file or record financing statements, mortgages, deeds of trust,
leasehold mortgages, notices of lien or similar instruments in any jurisdiciion (including,
trademark, copyright, trade name or patent assignment filings with the United State Patent and
Trademark Office, Copyright Office or any similar agency with respect to intellectual property),
er obtain consents from any licensor or similarly situated party-im-inieresl, or iake any other

action in order to validate and to perfect the security interests and lens granted to the DIP

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Lenders, the Agents, the Intermediary Bank, the Existing Lenders, the Existing Agents, the 2008
Notcholders and 2008 Notchelder Agent pursuant to this Final Order.

(b} If the DIP Lenders, the Agenis, ihe Intermediary Bank, the Existing
Lenders, the Existing Agents, the 2008 Noteholders or 2008 Noteholder Agent in their sole
discretion, choose to obtain consents from any landlord, licensor or other party in interest, to file
mortgages, financing statemenis, notices of lien or similar instruments, or to otherwise record or
perfect such security interests and liens: (4) all such documents shall be deemed to have been
recorded and filed as of the time and on the date of entry of this Final Order; and Gi) ne defect in
any such act shall affect or impair the validity, perfection and enforceability of the licns granted
hereunder.

(c) In lieu of obtaining such consents or filing any such mortgages, financmg
statements, notices of lien or similar instruments, the DIP Lenders, the Agents, the Intermediary
Bank, the Existing Lenders, the Existing Agents, the 2008 Neteholders or 2008 Noleholder
Agent may, at their sele discretion, choose to file a true and complete copy of this Final Order in
any place at which any such instruments would or could be filed, together with a description of
Collateral located withm the geographic area covered by such place of filing, and such filing by
the DIP Lenders, the Agents, the Intermediary Bank, the Existing Lenders, the Existing Agents,
the 2008 Netehalders or 2008 Noteholder Agent shall have the same effect as if such mortgages,
deeds of trust, financing statements, noticcs of licn or similar instruments had been filed or
recorded at the ime and on ihe dale of entry of this Final Order,

20. Application of Collateral Proceeds. Except as otherwise provided in this Final
Order, including, without limitation, in the next succeeding sentenec of this paragraph 18, the

Debtors and the Existing Lenders are hereby authorized and directed to remit to the DIP Lenders

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or the Agents, as the case may be, one-hundred percent (100%) of all collections on, and
proceeds of, the Collateral {subject to the satisfaction of any liens and secunty mlerests in such
Collateral described particularly in the DIP Loan Agreement and herein as bemg senior to the
liens and security interests of (he DIP Lenders and the Agents), including all accounts receivable
collections, proceeds of sales of inventory, fixed assets and any other assels, including salcs in
and outside the ordimary course of business, and all other cash or cash equivalents which shall at
any time on or alter the Petition Date come inte the possession or cantrel of the Debtors, or 1c
which Debtors shall become entitled at any lime. The automatic stay provisions of section 362
of the Code are hereby modified to permit the DIP Lenders or the Agents to retain and apply all
collections, remittances and proceeds of the Collateral in accordance with this Final Order and
the DIP Loan Agreement to the DIP Obligations, first to fees, costs and expenses owed under the

DIP Loan Documents, then to interest, and then to principal: provided, however, that,

 

notwithstanding anything contamed in the DIP Lean Agreement or DIP Loan Documents or to the
contrary contained in this Final Order, any collection or remittance of proceeds from sales or other
dispasitions of Collateral outside the ordinary course of the Debtors’ busmess, nel of any
associated expenses ("Sale Proccods") shall be treated as follows: *

(a} the Debtors may use, in accordance with the terms and conditions ef this Final
Order and the DIP Loan Documents, up te fifty percent (30%) of the Sale Proceeds
in atnounts up to $12 million for any individual transaction or up to $15 millon im
the aggregate, and the remaming filty percent (50%) shall be either (1) applied to
the outstanding DIP Obligations as of such date (with a concomitant permanent
reduction in the Commitments under the DLP Loan Agreement im like amount); (11}
used by the Debtors in accordance with the terms and conditions of this Final Order
and the DIP Loan Documents (with a concomitant permanent reduction in the
Commitments under the DTP Loan Agreement in hke amount, provided that the
Debtors reduce such Commitments only m accordance with the ierms of the DIP
Loan Agreement), provided, further, however, that, in such instance, if no reduction

 

 

Nothing in this Final Order shall be constred as the consent of any of the Agents, Lenders, Existing
Agents andor Existing Lenders to any sale of assets outside the ordinary course or the Debtors’ business.

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of the Commitments is permitted under the terms of the DIP Loan Agreement, then,
notwithstanding anything to the contrary herein, the Debtors shall not be permitted
io use any funds im accordance with subclause (11) without the consent of the DIP
Lenders and ihe Exisling Lenders; or (111) deposited in the Debtors’ collection
account to act a8 Cash Collateral for the outstanding DIP Obligations and the
outstanding Existing Indebledness (any such funds, the "Minor Escrowed
Proceeds"), which such Minor Escrowed Proceeds shall be subject to and held
according to the priorities set forth herein among the Post-Petition Liens, the
Existing Liens and ihe Replacement Liens, with no application of any such
proceeds to any of the outstanding DIP Obligations or the Existing Indebledness;
provided, however, that the Debtors may at their option subsequently elect to either
(¥} apply any Minor Escroewed Proceeds against cutstanding DLP Obligations (cr,
upon Payment in Full of the DIP Obligations and the Termination of all
Comunitments, against outstanding Existing Indebtedness) or (+) withdraw Minor
Escrowed Proceeds for use in accordance with the terms and conditions of this
Final Order and the DIP Loan Documents. In either instance, there shall be a
concomitant permanent reduction m the Commitments under the DIP Loan
Agreement in like amount, provided, however, that if the Debtors use Minor
Escrowed Funds under subclause (z) above, the Debtors must reduce such
Commitments only in accordance with the terms of the DIP Loan Agreement and
provided, further, however, that, in such instance, if no reduction of the
Commitments is permitted under the terms of the DIP Loan Agreement, then
notwithstanding anything to the contrary herein, the Debtors shall not be permitted
to use any funds in accordance with subclause (2) without the consent of the DIP
Lenders and the Existing Lenders. At no time shall payment be made on account of
any Existing Indebtedness from Sale Proceeds until the DIP Obligations have been
Paid in Full and the Commitments have been derminated; and

 

 

any Sale Proceeds m amounts equal to or greater than $12 million for any
individual transaction or equal to or greater than $15 million in the aggregate,
except lo the exlent otherwise agreed to by the DIP Lenders and Majority Banks
(as defined im the Existing Credit Facility}, shall be either (1) applied lo the
outstanding DIP Obligations as of such date (with a concomitant permanent
reduction in the commitments under the DIP Loan Aercement in like amount); (ii)
uscd by the Debtors in accordance with the terms and conditions of this Final Order
and the DIP Loan Documents (with a concomitant permanent reduction in the
Commitments under ihe DIP Loan Agreement in like amount, provided that the
Debtors reduce such Commitments only in accordance with the terms of the DIP
Loan Agrecment), provided, further, however, that, in such instance, ifne reduction
ofthe Commitments 1s permitted under ihe terms of the DIP Loan Agreement, then,
nolwithstanding anything to the contrary herem, the Debtors shall nol be permitted
to use any funds in accordance with subciausc; (ii) without the consent of the DIP
Lenders and the Existing Lenders; or (111) deposited in the Debtors’ collection
account to acl as Cash Collaieral for the oulslanding DIP Obligations and the
outstanding Existing Indebtedness (any such finds, the "Major Escrowed
Proceeds"), which such Major Escrowed Proceeds shall be subject to and held

 

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according to the priorities sct forth herein among the Post-Petition Liens, the
Existing Liens and the Replacement Liens, with no application of any such
proceeds to any of the outstanding DIP Obligations or the Existing Indebtedness;
provided, however, that the Debtors may at their option subsequently elect to either
(¥) apply any Major Escrowed Proceeds against outstanding DIP Obligations (cr,
upon Payment in Full ofthe DIP Obligations and the Termination ef all
Commitments, against outstanding Existing Indebtedness) or (z) withdraw Major
Escrowed Proceeds for use in accordance with the ierms and conditions of this
Final Order and the DIP Loan Documents. In either instance, there shall be a
concomitant permanent reduction in the commitmenis under the DIP Loan
Agreement in ike amount, provided, however, that if the Debtors use Major
Escrowed Funds under subclause (4) above, the Debtors musi reduce such
Commitments only m accordance with the lerms of the DIP Loan Agreement and
provided, further, however, that, m such instance, no reduction of the
Commitments is permitted under the terms of the DIP Loan Agreement, then,
notwithstanding anything to the contrary herein, the Debtors shall not be permitted
to usc any funds in accordance with subelause (z) also without the consent of the
DIP Lenders and the Existing Lenders. At no time shall payment be made on
account of any Existing Indebtedness from Sale Proceeds until the DIP Obligations
have been Paid in Full and the Commitments have been terminated.

Notwithstanding any cash management agreements or any order entered continuing the Debtors’
use of their current cash management system, the Exisiing Lenders shall not use the proceeds of
any Collatcral in any accounts maintained or controlled by them execpt as provided under the
BIP Loan Documents and this Final Order and any funds currently held, or received by the
Exisiing Lenders after the Petition Date, shall be held by such Existing Lenders or treated in
accordance with the DIP Loan Documents and this Final Order, to be dealt with m accordance
with the Debtors’ cash management system as it has been modilied to give effect to the DIP Loan
Agreement.

21. Access to Information, Without limiting the nghts of access and information
afforded the DIP Lenders or the Agents under the DIP Loan Agreement, the Debtors shall permit
representatives, agents and/or employees of the DIP Lenders, the Agents, the Existing Lenders,

the Existing Agents, and the Ad Hoc Committee of Senior Secured Notehelders to have

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reasonable access to their premises and their records during normal business hours ¢witheut
unreasonable interference with the proper operation of the Debtors’ businesses) and shall
cooperate, consult with, and provide to such persons all such non-privileged information as they
may reasonably request. The Debtors shall timely serve upon counsel to the DIP Lenders, the
Agents, the Existing Lenders, the Existing Agents, and the Ad Hoc Committce of Seniar Secured
Noteholders all pleadings and other documents filed by the Debtors in the chapter 11 cases,
meluding the financial reports required by the Uniied States Trusiee’s office, and shall continue
to supply such reports as ate required under the DIP oan Documents and/or the Existing Loan
Dacuments or as requested by the DIP Lenders, the Agents, the Existing Lenders, the Existing
Agents, and the Ad Hoc Committee of Semor Secured Noteholders. The Debtors shall provide
the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents and counsel io the Ad
Hoc Committee of Senior Secured Noteholders with copies of all material documents provided
ta the Committee, as well as copics of all non-privileged consultants’ reports, appraisals,
business plans, and similar documents as they become available lo the Deblors (whether or not
provided te the Committec}, including, without limitation, any and all audits and other nen-
privileged reports prepared by ihe Debters’ accountants.
22. Access lo Collateral.

(a) Upon the occurrence of an Event of Default or violation of this Final
Order, the automatic stay of Code section 362(a) shall be terminated only after further order of
the Court, in response to a motion brought in accordance with paragraph 24{c) hereof, granting
relicf from the automatic stay allowing the DIP Lenders or Agents to cntcr upon any leased or
licensed premises of any of the Debtors for the purpose of exercising any remedy with respect to

Collateral located thereon and shal] be entitled to all of the Debtors’ rights and privileges as

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lessee or licensee under such lease or license without mterference from the landlords or licensors
thereunder, provided that the DIP Lenders or Agents shall request that they shall only pay base
rent, or other obligations as required under the Code, of the Debtors that first arises after the DIP
Lenders' or Agents’ written notice referenced above and thal are payable during the period of
such occupancy by the DIP Lenders or the Agents, as the case may be, calculated on a per diem
basis. Nothing hercin shall require the Debtors, DIP Lenders or Agents to assume any lease
under section 365(a) of the Code as a precondition to the nghts afforded to the DIP Lenders in
ihis paragraph. Such motion for relief from the automatic stay shall be heard in accordance with
the terms of paragraph 22{c) of this Final Order.

{b) Debtors shall give the DIP Lenders and the Agents, their representatives
and consultants, reasonable access te the Debtors’ facilities, offices, hooks and records during
normal business hours to cnable such partics, among other things, to inspect the Collateral.

23. Cash Management System. The Debtors are authorized and directed to mamtain

 

their cash management system in a manner consistent with the DIP Loan Documents and this
Final Order.

{a} Nolwiihstanding anyihing to the contrary contained in this Final Order or
the DIP Loan Documents, KeyBank N.A., in its capacity as cash management bank with which
the Debtors continue to maintain lockbox and operating accounts (in such capacity, the
“Intermediary Bank”), is hereby granted for all obligations owed by Debtors to the Intermediary
Bank in its capacity as Intermediary Bank, including, inter afta, all costs, charges, ites, expenses
and other habilities incurred m such capacity and payable under the Intermediary Bank
Agreements (as defined herein) fcollectively, the "Intermediary Bank Obligations"), effective

immediately, (a) $1 million of cash to be held as cash collateral by the Intermediary Bank for any

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Intermediary Bank Obligations.” (b) under Section 364 of the Code, a perfected security interest
in, and lien upon, $2 million of the Collateral, which security interest and Lien shall be pari passu
with the Post-Petition Liens granted to the DIP Lenders and the Agents under this Final Order
and the DIP Loan Documents in all respects (ihe “Senor Cash Management Liens”), and (c)
under Section 364 of the Code, a perfected security interest in, and lien upon, $3 million of the
Collateral, which security interest and lien shall be subordinate to the Post-Pctition Liens and
pari passu with the Existing Liens and the Existing Lender Replacement Liens in all respects
{the “Junior Cash Management Liens” and, together with the Senior Cash Management Liens,
the “Cash Management Liens}.

ib} The Cash Management Liens shall be and hereby are fully perfected Hens
and security interests without the need for any additional steps to be taken by the Intermediary
Bank to perfect such interests. No len or security interest granted to the Intermediary Bank
under this Final Order shail be subject to any lien or security interest that is avoided and
preserved for the benefit of the Debtors’ estates under Section 551 of the Code, or hereafter be
subordinated to or made pari passa with any other lien or security interest other than the hens
granted to the DIP Lenders and the Agents under tlis Fimal Order and the DIP Loan Documents.

tc} Notwithstanding anything to the contrary contained in any document
relating to the Debtors or any of their accounts among the Debtors and the Intermediary Bank
(collectively, the “Intermediary Bank Agreements”), the Iniermediary Bank is not entitled to
exercise any remedies, whether pursuant to agreement or applicable nonbankrmupicy law, on
account of the Cash Management Liens unless and until all DIP Obligations have been

indefeasibly paid in full and the Commitments have been terminated.

 

For purposes of this order, the Lenders agree that they will not assert any serior interesr to any portion of
the §1 million cash collateral held by the Intermediary Bank in respect and to the extent of Intermediary

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(dq) Notwithstanding anything to the contrary contained herein, the Debtors are
authorized to pay to the Intermediary Bank any fees, expenses and charges in accordance with
the Intermediary Bank Agreements governing the operation of the Debtor's cash management
system and the Intermediary Bank's past practices with the Debtors.

fe} The Intermediary Bank Agreements are hereby approved and the Debtors
are authorized te enter into such Intermediary Bank Agreements.

24. Automatic Stay Modified. The automatic stay provisions of seclion 362 of the

 

Code, to the extent applicable and subject to further order of this Court as sct forth in Section {c)
below, shall, with respect lo subparagraph (a), and may, with respeci 10 subparagraphs (b) and
(c}, be vacated and modified to the extent necessary sc as to permit the DIP Lenders and the
Agents:

{a} whether or not an Event of Default or a default by any of the Debtors of
any of their obligations under this Final Order has occurred, to require all cash, checks or other
collections or proceeds from Collateral received by any of the Debtors to be deposited in
accordance with the DIP Loan Documents and this Final Order, and to apply any amounts so
deposited and other amounts paid to or received by the DIP Lenders or the Agents, under the DIP
Loan Agreement, the other DIP Loan Documents and this Final Order, as provided in the DIP
Loan Agreement and this Final Order;

{b} upon the oceurrence of an Event of Default or a default by any of the
Debtors of any of their obligations under this Final Order, and subject to farther order of this
Court as set forth m Section (c} below (except as provided in clause (d) below), to exercise all

Tights and remedies provided for in the DIP Loan Agreement, the other DIP Loan Documents,

 

Bank Obligations.

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this Final Order or under other applicable bankrupicy and nenbankruptcy law (ineluding the right
to sct off funds in aceounts maintained by the Debtors with any of the DIP Lenders or the Agents
to repay the DIP Obligations}.

(c) Upon the occurrence of an Event of Default or a violation cf this Final
Order, the automatic stay of Code section 362{a), io the extent applicable, shall be terminated
only after further order of the Court granting relief from the aulomatic stay im response ta a
motion filed by the DIP Lenders or the Agents seeking rehef from the auiomatie stay. Such
motion shall be heard, on the request of the DIP Lenders or the Agents, on an expedited basis, on
48 hours prior notice of such motion ta counsel to ihe Deblors, counsel to the Existing Agents,
counsel lo the Committee, counsel to the Ad Hoc Committee of Senior Secured Noteholders,
counsel to the Intermediary Bank, any affected landlord or licensor, the Linited States Trustee,
and all partics entitled to notice pursuant to Fed, R. Bankr. P, 2002, which notice may he
provided by e-mail and facsimile transmission. Immediately upon such notice bemg given by
the DIP Lenders or the Agents, the Debtors shall only be authorized to pay minimum operating
costs until after the entry of an order in response to a motion filed in accordance with this
paragraph. The Court shall endeavor to schedule a hearmg on any such request for relief from
the automatic slay al the earliest practicable date and shall take all reasonable steps to resolve
such motion as promptly as possible. Nothing contained herein shall be deemed a limitation of
or a waiver by the DIP Lenders or the Agents of their respective rights to assert in any motion for
Telief from the autematic stay that no relicf from the automatic stay is needed in order to exercise
any remedies with respeci to an Event of Default or a violation of this Final Order, however,
nothing in this Final Order is intended to modify the automatic stay or to authorize or permit the

DIP Lenders or Agents to exercise any rights or remedies.

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(dj) Upon the oceurrence and continuance of an Event of Default or a vielation
of this Final Order by any of the Debtors, the DIP Lenders and the Agents shall have no further
obilgation to provide financing under the DIP Loan Documents or this Final Order, and the DIP
Lenders and the Agents are hereby authorized to, without providing any prier notice thereof,
charge intcrest at the default rate sct forth in the DIP Loan Agreement and require cash
collateralization of obligations relating to letters of credit issued pursuant to the DIP Lean
Agreement, The DIP Lenders, the Agents, the Existing Lenders, the Existing Agents, the 2008
Notcholders or the 2008 Noteholder Agent shall provide the Debtors and Committee with
prompt notice of any violation of this Final Order.

25. No Responsible Person. In making the decision to make Loans and to extend
other financial accommodations to the Borrower under the DIP Loan Agreement and this Final
Order or in making the decision to collect the indcbtedncss and obligations of the Debtors, the
DIP Lenders, the Agents, the Existmg Lenders, ihe Existing Agents, the 2008 Notcholders and
the 2008 Noteholder Agent shall not be deemed to be in comrol of the operations of the Debtors
or ta be acting as a responsible person or owner cr operator with respect to the operation or
management of the Debtors (as such terms, or any similar terms, are used in the United States
Comprehensive Environmental Response, Compensation and Liability Act, as amended, or any
similar federal or state statute).

26. Consent and Agreement to Protections for 2008 Note Holders. The Debtors have
filed a Motion for: (A) An Order Authorizing Them te Pay a Commitment Fee for Postpetition
Financing and Exit Financing; and (B) Upon a Further Heanmg, a Final Order Authorizing Them
to Gbtain Postpctition Financing and Exit Financing Pursuant to 11 U.S.C. $§ 105, 362, 363,

364{c}{1), 264(c)(2), 364(0)(3) and 364(4}( 1), dated March 11, 2004 (the “Second DIP Motion”).

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The Debtors, the Existing Lenders and the DIP Lenders {in their capacities as DIP Lenders and
as potential lenders under the financing contemplated by the Second DIP Motion) hereby consent
and agree that the 2008 Noteholders will receive all of the protections afforded them under this
Order in any order granting the Second DIP Motion.

{a} In addition to the foregoing, the Dcbtors, the Existing Lenders and the DIP
Lenders (mm their capacities as DIP Lenders and as potential lenders under the fimancing
contemplated by the Second DIP Motion) hercby agree that any order approving the Second DIP
Motion (the “Second DIP Order") shall provide that notwithstanding any provision ef the
Intercreditor Agreement, the 2008 Noteholdcrs shall be entitled to vote claims represented by the
2008 Notes, whether secured or unsecured, 10 accept or reject any plan of rcorganization Gled in
the above-captioned chapter 11 cases, without obtaining any consents or aercements that might
otherwise be required in accordanec with the terms of the Interereditor Agreement and the 2008
Noteholders may object, on any grounds, whether appheable to secured claims or unaccured
claims held by the 2008 Notehelders, to any plan of reorganization fled in the above-caplioned

chapter 11 cases.

(bo) The Ad Hoc Commitiee of Senior Secured Neteholders hereby agree to
actively support entry of an order approving the Second DIP Motion (the "Second DIP Order")
through and including such time as any such order has been entered, becomes final and non-
appealable or, if an appeal has been filed, such appeal has been resolved so thai such order is no
longer subject te appeal. Any 2008 Noteholders receiving benefits hereunder shall be prohibited
(1) from initiating, consentimg to the commencing on their behalf, or joiming m any action secking
to invalidate, vacate, reconsider, modify or appeal the Second DIP Order or any provision

thereof; (11) not to initiate, consent to the commencement on their behalf, or jom in any action

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seeking to avoid, challenge or disallow the DIP Obligations, Post-Petition Liens or Superpriority
Claim granted in this Final Order, or any Second DIP Order, or disgorge any payments made on
account of such liens or claims provided that any Second DIP Order contains the provisions
described in this paragraph 26 and paragraph 14 hereof in a form substantially similar to the fonn
in which they appear herein and that is otherwise reasonably acceptable tc the Ad Hee
Committee of Senior Secured Notcholders.

{c} <Any 2008 Noteholders receiving benefits hercunder shall be prohibited
from imtialing, consenting on their behalf, or joining im any claim, objection, action,
counterclaim, offset, right or defense of any kind or nature which could in any way affect the
validity, enforceability, priority, and non-aveidabilily of ihe Existing Indebtedness, Existing
Liens, Existing Lender Replacement Liens or Existing Lender Adequate Protection Claim
granted in this Final Grder, or to disgorge or challenge the legality, validity, or non-avoidability
of any payments made on account of such hens or claims whether before or after the Filing Date
provided that any Second DIP Order contains the provisions described in this paragraph 26 and
paragraph 14 hereof in a form substantially similar to the form in which they appear herein and
that is otherwise reasonably acceptable to the Ad Hoc Committee of Senior Secured Noteholders,

27. Successors and Assigns. The DIP Loan Documents and the provisions of this
Final Order, as applicable, shall be binding upon the DIP Lenders, the Agents, the Debtors, the
Existing Lenders, the Existing Agents, the Intermediary Bank, the 2008 Neteholders and the
2008 Noteholder Agent and cach of their respective successors and assigns, and shall inure to the
benefit of the DIP Lenders, the Agenis, ihe Debtors, the Existing Lenders, the Existing Agents,
the Intermediary Bank, the 2008 Notecholders and the 2008 Noteholder Agent and each of their

respective successors and assigns including, withoul limilatlion, any trustee, responsible officer,

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estate administrator or representative, or similar person appointed m a case for the Debtors under
any chapier of the Bankrupicy Code.

28. Binding Nature of Agreement. The rights, remedies, powers, privileges, liens and

 

priorities of the DIP Lenders, the Agents, the Existing Lenders, and the Existing Agents,
including, without limitation the right to be repaid in full in cash on a date no later than the
effective date of a plan of reorganization or liquidation m these cases, provided for in this Final
Order, in any other DIP Loan Documents and in the Existing Loan Documents shall net be
modified, aliered or impaired in any manner by any subsequent order {including a confirmation
order) or by any plan of reorganization or Hquidation in these cases or in any subsequent case
under the Code, which, as to the Existing Lenders and the Existing Agents, shall refer solely to
the modification, altcration or impairment in any manner of the terms of payment of the Existing
Indebtedness under the Final Order and the Existing Loan Documents, and the terms and
provisions of this Final Order and the rights (including, without tnmilation ihe might to be repaid
in full in cash on a date no later than the effective date of a plan of reorganization or liquidation
in these cases}, claims, hens and security interests granted to the DIP Lenders, the Agents, the
Existing Lenders and the Existing Agents pursuant to this Final Order, the Existing Loan
Documents and the DLP Loan Documents shall continue in full force and effect notwithslanding
the entry of any such order, and ihe liens, security interests and claims of the DIP Lenders, the
Agents, the Existing Lenders and the Existing Agents shall maintain their priority as provided by
this Final Order and the DIP Loan Documents, unless and until the DIP Obligations and the
Existing Indebtedness have first been indefeasibly paid in full in cash and completely satisfied
and the Commitment terminated in accordance with the DIP Loan Agreement. The nghts,

Temedies, powers, privileges, liens, and prionties provided to the 2008 Noieholders m this Final

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Order shall not be modified, altered, or nmpaired in any manner by any subsequent Order
(including a Confirmation Order) or by any plan of reorganization or liquidation m (hese cases or
in any subsequent case under the Code, and the rights, claims, liens and sccurity interests granted
to the 2008 Noteholders pursuant to this Final Order shall continue in full force and cffect
notwithstanding the entry of any such Order, and the liens, security mterests and claima of the
2008 Notehalders shall maintain their priority as provided by this Final Order.

29, Subsequent Reversal or Modification. This Final Order is entered pursuant to

 

sections 363 and 364 of the Code, granting the DIP Lenders, the Agents, the Existing Lenders,
the Existing Agents, the 2008 Noteholders and the 2008 Noteholder Agent all prolections
afforded by sections 364(e) of the Code, Ifany or all of the provisions of this Final Order are
hereafter reversed, modified, vacated or stayed, that action will not affect (a) the validity of any
obligation, indebtedness or habtlity incurred hereunder by any of the Debtors to the DIP Lenders,
the Avents, the Existing Lenders, the Existing Agents, the 2008 Noteholders and the 2008
Noteholder Agent pnor to the date of receipt of written notice to the DIP Lenders, the Agents,
the Existing Lenders, the Existing Agents, the 2008 Noteholders and the 2008 Noteholder Ageni
of the effective date of such action; or (b) the validiiy and enforceability of any licn or priority
authorized or created hereby or pursuant to the DIP Loan Documents or pursuant to this Final
Order. Notwithstanding any such reversal, stay, modification or vacatur, amy post-petition
indebtedness, obligation or liability incurred by any of the Debtors to the DIP Lenders, the
Agents, the 2008 Noteholders, the 2008 Noteholder Agent, the Existing Lenders or the Existing
Agents pnior to written notice to the DIP Lenders, the Agents, the Existing Agents the Existing
Lenders, the 2008 Noteholders and the 2008 Noteholder Agent of the effective dale of such

action shall be governed mm all respects by the orginal provisions of this Final Order, and the DLP

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Lenders, the Agents, the Existing Agents and the Existing Lenders the 2008 Noteholders and the
2008 Noteholder Agent shall be entitled to all the rights, remedies, privileges and benefits
granted herein and in (he DIP Loan Decuments with respect to all such indebtedness, obligations
or liability.

30. No Waiver. Except as provided herein and to the extent not modified herein, in
the Intercreditor Agreement, nothing in this Final Order shall be construed in any way as a
waiver or relinguishment of any tights that (he DIP Lenders, ihe Existing Lenders, the
Intermediary Bank or the 2008 Noteholders, may havc to bring or be heard on any matter
brought before this Court.

31. Sale’Disrnissal. None of Debtors shall file any motion seeking an order
dismissing or converting these Chapter 11 Cases under section 1112 of the Cade, or appointing a
chapter 11 trustee or an examumer with expanded powers, unless and until ihe DIP Obligations
and the Existing Indebtedness shall have been paid indefeasibly in full, in cash, and the
Commitments terminated in accordance with the DIP Loan Agreement, No order providing for
either the sale of the ownership of the stock of any Debtor or the sale of all or substantially all of
the assets of any Debtor under section 363 of the Code shall be entered by the Court unless, in
and concurrently with any such event, the proceeds of such sale are sufficient, and applied, to
indefeasibly pay all DLP Obligations and such DIP Obligations shall be indefeasibly paid in full
in cash and the Commitment will be terminated in accordance with the DIP Loan Agreement as
part of such action, or the Required Lenders under the DIP Loan Agreement and expressly
consent in writing to any such transaction or the entry of such an order by the Court or such
transaction is expressly permitted in the DIP Loan Documents. The Debtors shall not sell either

the stock of any of the Debtors or substantially all of the assets of any of the Debtors under

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section 363 of the Code unless, in any such event, the Required Lenders under the DIP Loan
Agreement expressly consent in writing to any such transaction, such transaction 1s expressly
permitted in the DIP Loan Documents or the terms of the sale expressly provide ihat the sale
shall not be consummated unless the proceeds of the sale are sufficient, and applied, to
indefeasibly pay all DIP Obligations and such DIP Obligations shall be, upon the closing of such
sale, indefeasibly paid m full m cash and the Commitment terminated in accordance with the DIP
Loan Agreement. If an order dismissing any of these cases under sections 305 or 1112 of the
Code or otherwise is at any time entered, such order shall provide that (a) the liens, secunly
interests and superpriority admimsiralive expense slatus granted to the DIP Lenders and the
Agents hereunder and in the DIP Loan Decumenis, as (he case may be, shall continuc in full
force and effect, shall remain binding on all parties in interest and shall maintain their prioritics
as provided in this Final Order until alt DIP Obligations and all Existing Indebtedness shall have
been paid in full in cash and the Commitment shall have been terminated in accordance with the
DIP Loan Agreement, and (b} this Court shall retain jurisdiction, notwithstanding such dismissal,
for purposes of enforcing the liens, security interests and superpriority administrative expense
slalus of the DIP Lenders and the Agents, as the case may be,

32. = Priority of Terms. To the extent of any conflict or inconsistency between or
among the express terms or provisions of any of the DIP Loan Decuments, the Motion, this Final
Order, any other order of this Court, or any other agrecments, the terms and provisions of this
Final Order shall govern.

33, Adequate Notice. The notice given by the Debtors of the Final Hearing, in

accordance with the Interim Order, was given in accordance with Bankruptcy Rules 2002 and

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4001(c)(2) and the local miles of this Court. Under the circumstances, no farther notice of the
request for the rehef requested in the Motion is required.

34, Entry of Order: Effect. This Final Order shall dake effecl immediately upon
execution hereof, notwithstanding the pesaible application of Fed. R. Bankr. P. 6004(g), 7062,
9014, or otherwise, and the Clerk of the Court is hereby directed to enter this Final Order on the
Court's docket in these cases.

33, Binding Effect of Order. The terms of this inal Order shall be binding on any
trustee appointed under Chapter 7 or Chapter 11 of the Code.

36, Successor Agent, In furtherance of the previsions of Section 9.10 of each of
the Prepetition Revolving Credit Facility and the Prepetition Tcrm Loan Facility, the Existing
Lenders are authorized te appoint a successor agent (the “Successor Agent”) and to take all steps
necessary lo effectuate such appomtment. Each Debtor is authonzed and directed to do and
perform all acts, 1o make, execule and deliver all amendment to documents under the Prepetition
Credit Facility Gneludmg, without limitation, the execution of secunty apreemenis, pledge
apreements, Tortgages, ship mortgages, deeds of trust, deeds to secure debt, financing
slatements and intellectual property filings), to cause each of its subsidiaries that is not a Debtor
to execute and deliver amendments to documents under the Prepetition Credit Facility to the
exteni required by the Successor Agent, and to pay all filing and recording fees, in each case as
Tiay be necessary or, in the opinion of the Successor Agent, desirable to give effect to the
appointment of the Successor Agent, and te ensure the perfection of any liens securing the
Prepetition Credit Facility.

37. U.S. Bancorp. Nothing contained in this Final Grder shall be construed to grant

the DIP Lenders, the Existing Lenders, the Intermediary Bank or the 2008 Note Holders liens on

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any cquipment including all vessels and other marine asscts leased or chartered by Debtors from
US Bancorp Finance, Inc. andor any of its affiliates (“US Bancorp”) to the extent that such lease
or chatter arrangements are “truc” valid binding lcasc or charter arrangements between the
Deblors and US Bancorp, Further, notwithstanding anything to the contrary in this order or the
Loan Agreement, the priming Liens to be granted to the DLP Lenders shall not attach or apply to
any equipment meluding ail vessels and other marine assets leased or chartered by Debtors from
US Bancorp by the Debiors. Nothing contained in the Intenm Order, this Final Order, or the DIP
Loan Agreement shall be construed te prime or in any way affect any liens of US Bancorp on the
Vessel and the Equipment that are valid, perfected and unavoidable hens or security interests
existing as of the Petition Date. Nothing contained in the Interim Order, this Final Order, or the
DIP Lean Agreement shall be construed to affect rights or remedies that US Bancorp may have
under 11 U.S.C. § 1116, if any, with respect to the Charter Agreement, the Vessel Acquisition
Agreement, and Trust Agreement, all dated December 30, 1998, belween LS Bancorp (as
successor) and Oglebay Norton Company.

38. In the event of a conflict or inconsistency between this Final Order and the DIP
Loan Documents, this Final Order shall control.

39) Reporting Requirements. During the term of this Final Grder, the Debtors shall
submit to the Agents, Ad Hoc Commitiee of Secured Noteholders, the Committec, the Existing
Lenders and the Existing Agents by 12:00 p.m. of each Friday, commencing Friday, April 2,
2004, a rcport in a form satisfactory to the Existing Lenders, which report shall include {i} a
rolling thirteen (13) week cash flow projeciion, (11) a cash flow summary of receipts and

disbursements during the previous week, (iif) a report on collections of any amounts received as

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a result of asset sales and (iv) an update on all discussions associated with a reorganization plan,

restructuring transaction, equity investment and/or financing transaction.

40. Cash Collateral Termination Events. As long as any portion of the Existing

 

Indebtedness remains unpaid, the Debtors shall not seek, and it shall constitute a “Cash

Collateral Termination Event” if, except with the express writien consent of the Existing

Lenders, which consent shall not be implied:

aso

{a} any Chapter 11 Case shall be dismissed or converted to a case
under Chapter 7 of the Code; or a Chapter 11 trustee, or an examiner with
expanded powers, shall be appointed in any Chapter 11 Case; or

{b} an order or orders shall bc entered by the Bankruptcy Court or any
other court approving any claims for recovery of amounts under section 506(c) of
the Code with respect to the Pre-Petition Collateral or the Replacement Liens; or

tc) the Bankruptcy Court or any other court shall enter an order to
which the Existing Lenders do not consent granting relict from the automatic stay
applicable under section 362 of the Code to the helder or holders of any security
interest (oiher than the securily mteresis of the DIP Lenders and the Existing
Lenders to the extent granted in this Final Order} in any assets of the Debtors
allowing such holder or holders to foreclose or otherwise realize upon any such
sccurity interests in respect of assets having an aggregate valuc in excess of
$2,000,000; or

td} an order of the Bankruptcy Court or any other court shail be
entered materially amcnding, supplementing, staying, vacating, reversing,
revoking, rescinding or otherwise modifying this Final Order; provided that no
Termination Evert shall occur under this clause (d) to the extent thal any such
material amendment, supplement or other modification is not adverse ta the nghts
and interests of the Existing Lenders under this Final Order; or

(e) unless the Existing Lenders otherwise expressly agree in writing,
an order of the Bankruptcy Court or any other court shall be entered grantmg any
hen or securily interest in any property of the Debtors in favor of any party olher
than dhe Existing Lenders (other than G) the Post-Petition Laens and/or payment of
any DIP Obligations on account thereof, (11) the Permitted Prionty Liens; {i11)
during the occurrence and continuanec of an Event of Default or a default
hereunder, the payment of Prority Professional Expenses up to the Carve-Out
Amount, and (iv) the UST/Clerk Fees as authorized by the terms of this Final
Order; or granting a claim (other than (i) the Post-Petition Liens, Superpriority
Claim and/or payment of any DIP Obligations on account thereof; (ii) the
Permitted Priority Licns; (111) during the occurrence and continuance of an Event

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of Default or a defaull hereunder, the payment of Priority Professional Expenses
up to the Carve-Qut Amount; and (iv) the UST/Clerk Fees) to any party other than
the Existing Lenders, that is pari passw with or senior to the claims granted to the
Existing Lenders pursuant to this Final Order; provided, however, that it shall
only constitute a “Cash Collateral Termination Event” under this subparagraph {¢}
to the extent that any such liens, security interests or claims have an agercgate
value in excess of $2,000,000;or

(f) any ol’ the Debtors shall file any pleading seeking, or oiherwise
consenting to, or shall support or acquiesce in any other Pergon’s motion as to,
any of the matters set forth in paragraphs (a) through (¢) above, or the Court shall
grant any such motion filed by any other Person; provided, however, that the
Motion of Debtors and Debtors in Possession for an Grder, Pursuant to Section
364(¢)(2) of he Bankruptcy Code, Authorizing Entry into Insurance Premium
Financing Agreement [Docket No. 97] shall not constitute a “Cash Collateral
Termination Event” under this subparagraph (f}; or

(2) this Final Order shall cease to be in full force and effect or the
Debtors’ authority to usc Cash Collateral hereunder shall have otherwise
terminated; or

{h} any of the Debtors shall make any payment (includimg ‘adequate
protection” payments) on or in respect of any pre-pelition indebledness or
obligations other than (1) the obligations owed to the Existing Lenders or (1) as
permitted under Section 8.02(r) of the DIP Loan Agreement; or

) any of the Debtors shall fail to comply with the terms of this Final
Order solely as if relates to the Existing Lenders, except for any requirement of
prompi notice, prompt service af documents or any of the reporting requirements
set forth in paragraph 38 hereaf;

(j} any of the Debtors violate any of the financial covenants contained
in section 8,03 of the DIP Loan Agreement, an amendment thereto is annexed as
Exiihit B hereto; or

i(k) this Court shall abstain from hearing the Chapter 11 Case, or any
ofthe Debtors shalt sa move or support any motion brought by any third party
seeking such relief; provided, however, that it shall not constitute a “Cash
Collateral Termination Event” under this subparagraph (k) if the Debtors’ cases
continue in Chapter 11 cither in this Court or in the United Siales Distinct Court
for the District cf Delaware; or

(1) atry of the Debtors shall seek to, or shall support (by way of, imter
alia, any motion or other pleading fled with this Court or any other writing to
another party-in-imterest executed by or on behalf of any of the Debtors) any other
Person’s motion to, disallow or subordinate in whole or in part the Existing
Lenders’ claims in respect of the Existing Indebtedness or the obligations owed to

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the Existing Lenders or to challenge the validity, enforceability, perfection or
priority of the Existing Liens; provided, however, that, with respect to non-written
statements, it shall only constinite a “Cash Collatcral Termination Event” under
this subparagraph (1) if lhe Majority Banks (as defined in the Existing Credit
Facility) reasonably determine thal any of the Debtors have supported such a
motion; oF

(m)  excepiio the extent specifically provided for herein, the filing of

any motion to obtain credit from any party, other than Permitted Indebtedness,

unless the terms of any such facility are acceptable to the Existing Lenders in all

respects, or, in connection therewith, the facility provides that all the obligations

owed to the Existing Lenders shall first be paid indefcasibly in full in cash;

provided, however, thal the Motion of Debtors and Debtors in Possession for an

Order, Pursuant to Section 364(¢}(2) of the Bankruptey Code, Authorizing Entry

into Insurance Premium Financing Agreement [Docket No. 97] shall nol

constitute a “Cash Collateral Termination Event” under this subparagraph (mm); or

in) any order shall be entered limiting or otherwise impainnyg the

Existing Lenders’ rights under Section 552 of the Code, or any of the Debtors

shall fle a pleading seeking to modify such rights, or any of the Debtors shall fail

to object or shall in any way acquicscc to any pleading secking to limit such rights

filed by any other party.

41. Cash Collateral Remedies. Notwithstanding anything contained 1m the DIP Loan
Decuments or to the contrary contained in this Final Order, upon the occurrence of (1) any of the
foregoing Cash Collateral Termination Events and {ii} a vote of the Majority Banks (as defined
m the Existing Credi Facility), and ai all dimes thereafler, the Debtors” nght to use the Cash
Collateral will terminate upon further order of the Court in response to a motion filed by the
Existing Lenders or Existing Agents seeking a deiermination that they are no longer adequately
protected. (The foregoing 1s net intended to limit the rights of any other party to file a motion to
terminate the Debtors’ use of Cash Collateral.) Such motion shall be heard, on the request of the
Existmg Lenders or Existing Avents, on an expedited basis, on 48 hours prior notice of such
motion to counsel to the Debtors, counsel to the Agents, counsel to the Committee, counsel to

the Ad Hoe Committee of Senior Secured Noteholders, counsel to the Intermediary Bank, any

affected landlord or licensor, the United States Trustee, and ali parties entitled to notice pursuant

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to Fed. R. Bankr. P, 2002, which netice may be provided by e-mail and facsimile iranstmission.
Immediately upon such notice bemg given by the Existing Lenders or Existing Agents, the
Debtors shall only be authorized to pay minimum operating cosis until after the entry of an order
in response to a motion filed in accordance with this paragraph. The Court shall endeavor to
schedule a hearing on any such request for relief! from the automatic stay at the earliest
practicable date and shall take all reasonable steps to resolve such motion as promptly as
possible. Nothing contained herein shall be deemed a limitation on or waiver by the Existing
Lenders or Existing Agents of their respective rights ta assert in any motion ftom rehef from the
aulomatic stay that no telief from the automatic slay is needed in erder to exercise their rights
under Code section 363. However, nothing in this Final Order is intended ta modify the
automatic stay or to authorize or permit the Existing Lenders or Existing Agents to exercise any
rights or remedies.

(a) Furthermere, upon the occurrence of (i) any of the foregoing Cash
Collateral Termination Events and (ii) a vote of the Majority Banks (as defined in the Existing
Credit Facility}, but ently afler the repayment in full of the DIP Loans and the termination of all
Commitments under the DIP Loan Agreement, the Existing Lenders may, at their absolute and
sole discretion, exercise all rights and remedies and take all or any of the following actions: (x)
declare the principal of and accrued interest on the Existing Indebtedness, together with all fees
and other liabilities constituting the obligations owed to the Existing Lenders, to be immediately
due and payable; (y) set off or realize upon and apply to the Existing Indebtcdness amounts
contamed im any account maintained with or under the control of the Existing Lenders; and/or (z)
take any other action or exercise any other right or remedy permitted to the Existing Lenders

under the Existing Loan Documents, this Final Order or applicable law; provided, however, that

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the Existing Lenders may exercise their rights and remedies specified in clauses (x} through (z)
(inelusive) of this paragraph 41 only m accordance with the applicable provisions of paragraph
24 of this Final Order (as though the Existing Lenders and the Existing Avents were included in
such paragraph 24) and subject to rehef from ihe siay being granted.

(b) Notwithstanding anything io the contrary herein, nothing in this Final
Order shall be deemed to change the burden of proof with respect to the issue of adequate
protection of the Existing Lenders and Existing Agents.

42, Preservation of Rights. Except as otherwise specifically provided herein, or in ihe
Intercreditor Agreement, to the extent modified herein, entry of this Final Order shali be without
prejudice te any and all rights, remedies, claims and causes of action which the DIP Lenders, the
Agents, the Existing Lenders, the Existing Agents, the 2008 Noteholders and the 2008
Notehalder Agent may have against the Debtors or any third parties (including any rights granted
under the Interereditor Agreement), and without prejudice to the right ofthe DIP Lenders, the
Agents, the Existing Lenders, and the Existing Agents to seek relief fram the automatic stay in
effect pursuant to section 362 of the Code, or any other relief under the Cede or applicable non-
bankruptcy law, meluding, without limitation, the night of the DIP Lenders, the Agents, the
Existing Lenders, the Existing Agents, the 2008 Noteholders and the 2008 Noteholder Agent to
(i) as ta the DIP Lenders, Agents, Existing Lenders and Existing Agents, seek additional relief
from the Court in respect of their respective interests in the Collateral (including, without
limitation, the Cash Collateral} or relief from or modification of the automatic stay under section
362 of the Code, (11) request conversion of any of the Chapter 11 Cases to cases under Chapter 7
ofthe Code and/or (ili) propose, subject to the provisions of section 1121 of the Code and the

Debtors’ nghts to seek extensions thereunder (and the Existing Lenders’ rights to object to any

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such extensions), one or more Chapter 11 plans. Except as otherwise set forth herem, the
Intercreditor Agreement shall remain in full force and effect in accordance with its terms,

43. Debtors Must Mamtam Insurance, The Debtors shall deliver to the DIP Lenders,
the Agents, the Existing Lenders, the Existing Agents, and counsel te the Ad Hoc Committee of
Senior Secured Noteholders evidence satisfactory lo the DIP Lenders, the Agents, the Existing
Lenders and the Existing Agents that the Collateral is adequately msured under insurance
policies acceptable to the DIP Lenders, the Agents, the Existing Lenders and the Existmy Agents
wader which the DIP Lenders, the Agents, the Existing Lenders, the Existing Agents, the 2008
Notenolders and the 2008 Noteholder Agent are named as loss payees.

44. Wo Release of Non-Debtors. Nothing contained in this Final Order shall be
deemed to terminate, modify or release any obligations of any non-debtor guarantor to the DIP
Lenders, the Agents, the Existing Lenders, the Existing Agents the 2008 Notehelders and the
2008 Notcholder Agent with respect to the respective obHgalions owed to the DIP Lenders, the
Agents, the Existmg Lenders, the Existing Agents, the 2008 Noteholders, ihe 2008 Noteholder
Agent, or otherwise,

Dated: :
Apnl a, , 2004

 

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The fénorable Joel B. Rosenthal
United States Bankruptcy Judge

 

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